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                                                                           USDC SDNY
                                                                           DOCUMENT
                                                                           ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                               DOC #:
SOUTHERN DISTRICT OF NEW YORK                                              DATE FILED: 10/19/2020

 BRETT WHEELER,

                                  Plaintiff,
                                                                   19-CV-9689-MKV
                      -against-
                                                                        ORDER
 NYC DOC: JOHN DOE # 1,

                                  Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       Plaintiff, who is currently incarcerated in Sullivan Correctional Facility, brought this pro

se action under 42 U.S.C. § 1983, alleging that Defendant violated his rights when he was detained

on Rikers Island. The Court issued a Valentin Order on April 23, 2020, directing the New York

City Law Department, the attorney for and agent of the New York City Department of Correction

(“DOC”), to ascertain the identity of the John Doe whom Plaintiff seeks to sue here and the address

where the defendant may be served [ECF No 12].

       On August 21, 2020, the New York City Law Department filed a letter report informing the

Court that it was unable to identify the DOC employee whom Plaintiff describes in his Amended

Complaint [ECF No. 19]. However, the New York City Law Department was able to identify,

upon information and belief, several individuals as being in or near the area where the inmate

altercation alleged in the Amended Complaint occurred.

       The letter report indicates that a copy was sent to Plaintiff by First Class Mail. Pursuant to

the Valentin Order, Plaintiff was directed to file a second amended complaint naming the John Doe

Defendant within thirty days of receiving the report of the New York City Law Department [see

ECF No. 12]. To date, Plaintiff has not filed a second amended complaint.
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       Accordingly, IT IS HEREBY ORDERED that on or before November 16, 2020, Plaintiff

shall file a second amended complaint that either provides additional details about the John Doe

defendant, so that the New York City Law Department might identify that individual, or names a

defendant or defendants. If the second amended complaint only provides additional details about

the John Doe defendant, the Court will order the New York City Law Department to conduct a

follow-up investigation. If it names a defendant or defendants, the second amended complaint will

replace, not supplement, the original and amended complaints. A second amended complaint form

that Plaintiff should complete is attached to this Order. Once Plaintiff files a second amended

complaint, the Court will screen the second amended complaint and, if necessary, issue an order

asking the defendant to waive service.

       Failure to comply with this order and the deadlines herein may result in dismissal of

this action.

       The Clerk of Court is respectfully requested to mail a copy of this Order to the pro se

Plaintiff, together with an information package. The Clerk of Court is also respectfully requested

to close docket entry 14, as the Notice of Motion does not state any request of the Court [see ECF

No. 14].



SO ORDERED.

 Dated: October 19, 2020
        New York, New York

                                                         MARY KAY VYSKOCIL
                                                        United States District Judge




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                          S OUTHERN D ISTRICT OF N EW Y ORK




                                                                         No. _______________
Write the full name of each plaintiff.                                (To be filled out by Clerk’s Office)

                                                                          SECOND AMENDED
                           -against-                                       COMPLAINT
                                                                                 (Prisoner)

                                                                         Do you want a jury trial?
                                                                             ☐ Yes    ☐ No




Write the full name of each defendant. If you cannot fit the
names of all of the defendants in the space provided, please
write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The
names listed above must be identical to those contained in
Section IV.




                                               NOTICE
   The public can access electronic court files. For privacy and security reasons, papers filed
   with the court should therefore not contain: an individual’s full social security number or full
   birth date; the full name of a person known to be a minor; or a complete financial account
   number. A filing may include only: the last four digits of a social security number; the year of
   an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
   See Federal Rule of Civil Procedure 5.2.




Rev. 5/6/16
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I.        LEGAL BASIS FOR CLAIM
State below the federal legal basis for your claim, if known. This form is designed primarily for
prisoners challenging the constitutionality of their conditions of confinement; those claims are
often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) or in a
“Bivens” action (against federal defendants).
☐ Violation of my federal constitutional rights

☐ Other:
II.       PLAINTIFF INFORMATION
Each plaintiff must provide the following information. Attach additional pages if necessary.



First Name                 Middle Initial               Last Name


State any other names (or different forms of your name) you have ever used, including any name
you have used in previously filing a lawsuit.


Prisoner ID # (if you have previously been in another agency’s custody, please specify each agency
and the ID number (such as your DIN or NYSID) under which you were held)


Current Place of Detention


Institutional Address


County, City                                    State                        Zip Code
III.      PRISONER STATUS
Indicate below whether you are a prisoner or other confined person:
☐      Pretrial detainee
☐      Civilly committed detainee
☐      Immigration detainee
☐      Convicted and sentenced prisoner
☐      Other:




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IV.    DEFENDANT INFORMATION
To the best of your ability, provide the following information for each defendant. If the correct
information is not provided, it could delay or prevent service of the complaint on the defendant.
Make sure that the defendants listed below are identical to those listed in the caption. Attach
additional pages as necessary.

Defendant 1:
                   First Name                 Last Name                     Shield #

                   Current Job Title (or other identifying information)

                   Current Work Address

                   County, City                           State                 Zip Code
Defendant 2:
                   First Name                 Last Name                     Shield #


                   Current Job Title (or other identifying information)

                   Current Work Address

                   County, City                           State                 Zip Code
Defendant 3:
                   First Name                 Last Name                     Shield #


                   Current Job Title (or other identifying information)


                   Current Work Address


                   County, City                           State                 Zip Code
Defendant 4:
                   First Name                 Last Name                     Shield #


                   Current Job Title (or other identifying information)


                   Current Work Address


                   County, City                           State                 Zip Code


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V.     STATEMENT OF CLAIM

Place(s) of occurrence:


Date(s) of occurrence:

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and how each defendant was personally involved in the alleged wrongful actions. Attach
additional pages as necessary.




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INJURIES:
If you were injured as a result of these actions, describe your injuries and what medical treatment,
if any, you required and received.




VI.    RELIEF

State briefly what money damages or other relief you want the court to order.




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VII.    PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation); (2) the claims are supported by existing law
or by a nonfrivolous argument to change existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Federal Rule of Civil Procedure 11.

I understand that if I file three or more cases while I am a prisoner that are dismissed as
frivolous, malicious, or for failure to state a claim, I may be denied in forma pauperis status in
future cases.

I also understand that prisoners must exhaust administrative procedures before filing an action
in federal court about prison conditions, 42 U.S.C. § 1997e(a), and that my case may be
dismissed if I have not exhausted administrative remedies as required.

I agree to provide the Clerk's Office with any changes to my address. I understand that my
failure to keep a current address on file with the Clerk's Office may result in the dismissal of my
case.


Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.



Dated                                                   Plaintiff’s Signature


First Name                     Middle Initial           Last Name

Prison Address


County, City                                    State                           Zip Code



Date on which I am delivering this complaint to prison authorities for mailing:




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